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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

DENNIS RUTHERFORD, et al, Case No. Civ. 75-04111-DDP
Plaintiffs,
[Fro osed
ER SHORTENING TIME TO
VS. HEAR MOTION RE: INMATE
INTERVIEWS.

LEROY BACA, as Sheriff of the

County of Los Angeles, MICHAEL D.

ANTONOVICH, YVONNE B. Honorable Dean Pregerson
BURKE, DON KNABE, GLORIA

MOLINA, ZEV YAROSLAVSKY, as ) Date:

Supervisors of the County of Los Time:

Angeles, et al., Dept: 3

Defendants.

 

 

 
 

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l ORDER
2 | IT IS HEREBY ORDERED that, pursuant to Local Rules 6-1 and 7-19,
3] 1. Plaintiffs’ Motion to Modify Order re: Inmate Interviews shall be filed with
4 the clerk and set for hearing at 10:00 a.m. on Monday, June 16, 2008
5
‘ 2. Defendants’ Opposition to this motion shall be filed on , 2008.
4 Plaintiffs’ reply shall be filed no later than , 2008.
g This Order is based on a showing that plaintiffs will suffer prejudice if their
g | motion is heard on the normal motion schedule.

10 | DATED: , 2008

11 IT IS SO ORDERED,

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14 Honorable Dean Pregerson

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